         Case 1:21-cv-00052-3JP Document 296                                    Filed 04/30/21             Page 1 of 1




                                                                                           MATTHEW R. NICELY
                                                                                           Partner
                                                                                           202.887.4046/fax: 202.887.4288
                                                                                           mnicely@akingump.com


                                                         April 30, 2021

The Honorable Mark A. Barnett, Chief Judge
The Honorable Claire R. Kelly, Judge
The Honorable Jennifer Choe-Groves, Judge
U.S. Court of International Trade
One Federal Plaza
New York, NY 10278-0001

       Re:        Plaintiffs’ Response to Question Posed During Panel’s Status Conference

Dear Panel:

        During the April 26, 2021 status conference, the Panel asked Plaintiffs whether Defendants
should be asked to file an amended answer in response to complaints or amended complaints that
were filed after Defendants filed their master answer on March 12, 2021.

        We have posed this question via email to all plaintiffs’ counsel, including all Steering
Committee members, and received no objections to having Defendants forgo filing an answer to
the later filed complaints and amended complaints.

       Please do not hesitate to contact the undersigned if you have any questions.

                                                              Respectfully submitted,

                                                              /s/ Matthew R. Nicely
                                                              Matthew R. Nicely
                                                              Pratik A. Shah
                                                              James E. Tysse
                                                              Devin S. Sikes
                                                              Daniel M. Witkowski
                                                              Sarah B. W. Kirwin

Dated: April 30, 2021                                         AKIN GUMP STRAUSS HAUER & FELD LLP
                                                              2001 K Street, NW
                                                              Washington, D.C. 20006




       Robert S. Strauss Tower | 2001 K Street, N.W. | Washington, DC 20006-1037 | 202.887.4000 | fax 202.887.4288 | akingump.com
